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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 Wisconsin Voters Alliance, et al.,                                              Case No. ________

                              Plaintiffs,
 v.                                                           NOTICE OF HEARING

 Vice President Michael Richard Pence, et al.,

                            Defendants.


                                      NOTICE OF HEARING

       Plaintiffs Wisconsin Voters Alliance, et al., will bring on for hearing their Motion for

Preliminary Injunction, before an Honorable Judge of the District of Columbia, at a time and place

to be determined.



 Dated: December 22, 2020                           /s/Erick G. Kaardal
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